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                 EXHIBIT 2
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                                                                                                             Page 2 PLAINTIFF'S
                                                                                                                    of 6                  #
                                                                                                                    _     EXHIBIT

Message                                                                                                             g
                                                                                                                #
From:             Holifield, Cassandra [cassandra.holifield@mresa.org]
Sent:             6/7/2019 4:39:38 PM
To:               Vickie Cleveland [/o=ExchangeLabs/ou=Exchange Administrative Group
                  (FYDIB0HF23SPDLT)/cn=Recipients/cn=1499044685e34a2ab66381c621a8e416-Vickie Clev]
CC:               Lakesha Stevenson [/o=ExchangeLabs/ou=Exchange Administrative Group
                  (FYDIB0HF2.35PDLT)/cn=Recipients/cn=Lakesha Stevenson]
Subject:          RE: GNETS Continuum of Services, Student Level Record, & Funding



Correct. I'll wait to hear back from you.


Dr. Cassandra Allen Holifield
Director, North Metro GNETS
601 Beckwith Street, SW
Atlanta, GA 30314
Email: casiandra.holifield@mresa.org
Telephone: 404-802-6070
Fax: 404-802.-6098

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please notify the sender immediately by e-mail and delete all copies of the message.


From: Vickie Cleveland <VCIeveland@doe.k12.ga.us>
Sent: Friday, June 7, 2019 12:37 PM
To: Holifield, Cassandra <cassandra.holifield@mresa.org>
Cc: Lakesha Stevenson <Istevenson@doe.k12.ga.us>
Subject: Re: GNETS Continuum of Services, Student Level Record, & Funding


Matt's email states that the money will be put back in GNETS??? I will follow up with him on Monday I have a few
questions

Sent from my iPhone

On Jun 7, 2019, at 11:34 AM, Holifield, Cassandra <cassandra.holifield@mresa.orp wrote:

           You're correct. All registration and funding will be through MRESA not me.


           Dr. Cassandra Allen Holifield
           Director, North Metro GNETS
           601 Beckwith Street, SW
           Atlanta, GA 30314
                  cassandra.holifield@mresa.org
           Telephone: 404-802-6070
           Fax 404-802-6098

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From: Vickie Cleveland <VCIeveland@doe.k12.ga.us>
Sent: Friday, June 7, 2019 12:33 PM
To: Holifield, Cassandra <cassandra.holifieldOlmresa.org>
Cc: Lakesha Stevenson <Istevenson@doe.k12.ga,us>
Subject: Re: GNETS Continuum of Services, Student Level Record, & Funding


When I spoke with Matt on Thursday, it was my understanding that I would be following up with him
because I told him that I needed to speak with you because I was not even aware of the request. You
had not shared it with me
I did not state to him that money could be put back into GNETS It was my understanding in my
conversation with you that the money would be paid to RESA?? I will follow up with Matt

Sent from my iPhone

On lun 7, 2019, at 11:25 AM, Holifield, Cassandra <cassandra.holifielcl@mresa.org> wrote:

       FYI...

        forwarded message:

       From: Matt Cardoza <MCardoza@doe.k12.ga.us>
       Date: June 7, 2019 at 8:16:55 AM EDT
       To: Leigh Ann Putman — <leighann.putman@rnresa.org>
       Subject: GNETS and PL Course

       Hey, Leigh Ann. I spoke with the GNETS person and it didn't sound like there
       was any issue with you offering that course and using the money to put back into
       the GNETS.

        Matt Cardoza
        Assistant Director of Policy
        Office of External Affairs & Policy
        Georgia Department of Education
        205 Jesse Hill Jr. Drive
        2053 Twin Towers East
        Atlanta, GA 30334
        404-232-1320 office
        770-359-5542 fax
        incardozwAdoe.k12.qaus
        http://www.qadoe.orq

       Educating Georgia's Future




       Dr. Cassandra Allen Holifield
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  From: Holifield, Cassandra
  Sent: Friday, June 7, 2019 11:38 AM
  To: Vickie Cleveland <VCIevelancl@doe.k12.ga.us>
  Cc: Lakesha Stevenson <Istevenson@doe.k12.p.us>
  Subject: RE: GNETS Continuum of Services, Student Level Record, & Funding


  Vickie,
  Matt responded to Leigh Ann regarding the funding and she said Matt checked and
  we're fine. Regarding my question, I know we don't receive FTE. I asked the question
  because as I've been checking my student roster against the one's my LEAs have been
  sending me from their student level record reports, I had a missing student which we
  provided consult to who was not on the list. I thought I could ask you for guidance which
  I did. I'll let Leigh Ann know that I checked with you like I told her I would and I'll share
  your response with her.

  Dr. Cassandra Allen Holifield
  Director, North Metro GNETS
  601 Beckwith Street, SW
  Atlanta, GA 30314
  Email: cassandra.holifield@mresa.org
  Telephone: 404-802-6070
  Fax: 404-802-6098

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  message.


  From: Vickie Cleveland <VCIevelancl(Tdoe.k1.2.0.us>
  Sent: Friday, June 7, 2019 9:58 AM
  To: Holifield, Cassandra <cassandra.holifield@mresa.org>
  Cc: Lakesha Stevenson <isteygresjpej ≤.1    .2„ga,.>; Vickie Cleveland
  <VCIeveland(d)doe.k12.ga.us>
  Subject: Re: GNETS Continuum of Services, Student Level Record, & Funding

  Good morning
  Thanks for sharing these concerns with us I did not provide a definitive response on the
  registration for training I shared with you that l would follow up with the budget team
  and my opinion is that it would not be different than other trainings but I need to
  confirm that.


  We have previously addressed your question regarding consultative services This
  question was addressed at directors meetings and also Carol Seay provided training at
  fall GCASE in Savannah Please refer to the PowerPoint presentation that she presented
  She has also provided this training at the data conference for directors




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  As previously shared GNETS prograrns are not schools and do not earn FTE. North Metro
  does not receive direct funding from FTE coding The grant funding for GNETS is based
  on the student record count in June and the rolling average formula No additional
  clarification is needed on the GNETS funding formula at this time I'm hoping that there
  will be future discussions around changing the funding formula


  When districts code FTE funding for consult services they can only code one segment
  This is the case whether it's for GNETS consult services or other disability consult
  services. GNETS does not earn FTE as traditional schools do The programs are not
  schools
  The GNETS continuation of services flowchart provides guidance on consult services
  There is a request for consultation form in the packet NM should follow this protocol
  Several of our sites have their current staff provide support for students that are
  reintegrating or they provide observations that are needed

  NM has several support staff and the team may need to take a look at how these staff
  might better provide consult services We do have programs that are providing these
  services with less staff
  Consult services are mostly support for teachers not direct support to students from my
  observations GNETS programs should also be collaborating with GLRS regarding
  reintegration of students Did you work with them on this?

  I will be back in the office on Monday and I will follow up then
  Thanks

  Sent from my iPhone


  On Jun 6, 2019, at 11:59 PM, Holifield, Cassandra <cassandra.holifieldPmresa.org>
  wrote:

            Vickie and Lakesha,
            Good morning! Vickie, thanks for speaking with me Wednesday
            regarding whether or not NM GNETS can charge a registration fee for
            trainings being offered through MRESA and that we should be fine since
            all registrations and funds are handled by Metro RESA and not NM
            GNETS. As you know, it's the end of the year and I'm in the process of
            making sure that all of my NM GNETS students appear on each of my
            respective district's student level record reports prior to our
            superintendent's signing off so we will receive the correct amount of
            funding. I'm emailing you now because I inquired about one of my
            missing students on one of my district's student level record reports.
            We've been providing consultative services for this student and I was
            told that since we only provide 2 hours of consultative services to this
            student a month, he will not be coded 4 and we will not receive funding
            for him. Will you please let me know how many hours a month of
            GNETS consultative supports earn funding? This continues to be a major
            concern and an increasing request for services from LEAs and parents
            since the new GNETS state board rule states this can be done which we
            want to provide. However, as we continue to provide more intensive
            therapeutic support services, we have more students returning to their
            LRE which is amazing and is what we want to do. However, our
            enrollment drops and the most significantly mentally ill and behaviorally




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        challenged students rernain, while our budgets continue to shrink as we
        continue to help students transition to their new LRE. When you meet
        on Tuesday with your budget colleagues, will you please ask them to
        please provide us with some written guidance on how many hours of
        GNETS services per month it takes for GNETS to earn funding and how
        we are to code these services in the IEP for each of the options listed
        below in the GNETS State Board Rule as options for the continuum of
        services? I've asked for guidance from my special education directors
        and they too are trying to figure it out and want to know since they
        want us to provide more services on the front end ex. consultative. They
        also want to know if GNETS services are provided for students on
        consult do they have to complete a full GNETS request for services
        packet. I assume the answer is yes, but I'm not sure so I'm asking you to
        help me know how to respond to them. Thanks in advance for your help
        and I look forward to seeing you soon.

        (c) The GNETS continuum of services by environment may be delivered
        as follows:
        1. Services provided in the general education setting in the student's
        Zoned School or other public school. 4 2. Services provided in the
        student's Zoned School or other public school setting by way of a "pull
        out" from the general education setting for part of the school day. 3.
        Services provided in the student's Zoned School or other public school
        for part of the school day in a setting dedicated to GNETS. 4. Services
        provided in the student's Zoned School or other public school for the
        full school day, in a setting dedicated to GNETS. 5. Services provided in a
        facility dedicated to GNETS for part of the school day. 6. Services
        provided in a facility dedicated to GNETS for the full school day.

        Dr. Cassandra Allen Holifield
        Director, North Metro GNETS
        601 Beckwith Street, SW
        Atlanta, GA 30314
        Email: cassandraholifield@rnresa.org
        Telephone: 404-802-6070
        Fax: 404-802-6098

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